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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (AHG)
12                           Petitioners-Plaintiffs,
                                                           ORDER CONTINUING HEARING
13     v.                                                  DATE ON MOTION TO ENFORCE
                                                           SETTLEMENT AGREEMENT
14     U.S Immigration and Customs
                                                           REGARDING PROVISION OF
       Enforcement (“ICE”); et al.,
15                                                         LEGAL SERVICES
                         Respondents-Defendants.
16
17           Plaintiffs have requested a continuance of the hearing date from April 29, 2025, to
18    April 30, 2025. There being no objection from Defendants, Plaintiffs’ request is granted.
19    The hearing on Plaintiffs’ motion to enforce is continued to April 30, 2025, at 1:30 p.m.
20    A dial in number for counsel wishing to present argument will be circulated via email. The
21    dial-in number for any counsel who wish to listen in only and members of the news media
22    is as follows.
23           a.     Dial the toll free number: 571-353-2301;
24           b.     Enter the Access Code: 151416184 (Participants will be put on hold until the
25                  Court activates the conference call);
26    ///
27    ///
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                                                                                   18cv0428 DMS (AHG)
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 1    Members of the general public may attend in person. All persons dialing in to the
 2    conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
 3    proceedings.
 4    Dated: April 28, 2025
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